      Case 6:09-cr-00042-LGW-CLR Document 150 Filed 09/26/22 Page 1 of 6



                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                   STATESBORO DIVISION


UNITED STATES OF AMERICA,                             CITATION OF NEW AUTHORITY FOR
                                                      MOTION FOR RECONSIDERATION OF
                                                      MOTION FOR COMPASSIONATE
                                                      RELEASE/REDUCTION IN SENTENCE
               Plaintiff,                             PURSUANT TO 18 U.S.C.S 3582(C>(1            A)
                                                      AND THE FIRST STEP ACT OF 2018
V.

                                                      CASE NO.6:09-cr-00042-LGW-CLR-l
KEVIN TYRONE SAUNDERS,

               Defendant.



       COMES Movant,KEVIN TYRONE SAUNDERS("Saunders"), appearing pro se, and files

his Citation of New Authority for Motion for Reconsideration of Motion for Compassionate

Release/Reduction in Sentence Pursuant to 18 U.S.C. § 3582(C)(1)(A) and the First Step Act of

2018, and would show as follows:

                               I. PRELIMINARY STATEMENT


       As a preliminary matter, Saunders respectfully requests that the Court be mindful that "apro

se complaint should be given liberal construction, we mean that if the essence of an allegation is

discernible ... then the district court should construe the complaint in a way that permits the

layperson's claim to be considered within the proper legal framework." See Campbell v. Air Jamaica

Ltd, 760 F.3d 1165 (11*^ Cir. 2014) CPro se pleadings are held to a less stringent standard than

pleadings drafted by attorneys and will, therefore, be liberally construed."); Estelle v. Gamble^ A19

U.S. 97(1976)(same); and Haines v. Kerner, 404 U.S. 519(1972)(same). ,                  -       2


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       Case 6:09-cr-00042-LGW-CLR Document 150 Filed 09/26/22 Page 2 of 6



                           n.CITATION OF NEW AUTHORITY

       Since the filing of his Motion for Reconsideration of Motion for Compassionate

Release/Reduction in Sentence Pursuant to 18 U.S.C. § 3582(C)(1)(A) and the First Step Act of

2018, Saunders has received a letter from the Illinois Cancer Care dated September6,2022. In this

letter, Kimberly Ku,MD.,explains the current state ofSandra Saunders and her cancer treatments.

See Exhibit-I, attached hereto. She states that Ms Saunders cancer has relapsed metastatic

adenocarcinoma ofthe colon. She initially was diagnosed with stage HI disease in September 2021;

however, she subsequently had a relapse in the right inguinal lymph node.
                                                      ft




       Saunders files this Citation ofNew Authority to further support and evidence ofthe fact that

Ms. Saunders needs her husband home to take care ofher in her current condition.

       WHEREFORE,premises considered, Saunders prays that the Court will consider this new

evidence of his wife's condition, and grant him compassionate release due to his wife's underlying

incurable cancer.


                                                    Respectfully submitted.




Dated: September 23,2022
                                                    KEVIN TYRONE SAUlsIDERS              -
                                                    REG. NO. 14085-021
                                                    FCIBUTNER MEDIUM B
                                                    FEDERAL CORR.INSTITUTION
                                                    P.O. BOX 1500
                                                    BUTNER,NC 27509
       Case 6:09-cr-00042-LGW-CLR Document 150 Filed 09/26/22 Page 3 of 6



                               CERTTFirATE OF SERVICE


       I hereby certify that on September 23, 2022, a true and correct copy of the above and
foregoing Citation ofNew Authority for Motion for Reconsideration ofMotion for Compassionate
Release/Reduction in SentencePursuantto 18 U.S.C.§3582(c)(1)(A)and the First Step Act of2018
was sent via U. S. Mail, postage prepaid, Justin G. Davids, at U.S. Attorney's Office, Southern
District ofGeorgia,22 Barnard St., Savannah, GA 31401.




                                                   KEVIN TYRONE SAUNDERS
               Case 6:09-cr-00042-LGW-CLR Document 150 Filed 09/26/22 Page 4 of 6


02             ILLINOIS
               CANCERCARE,p.c.
               SpecidUzmgln Cancer and Blood Disorders
                                                                                                              PHYSICIANS
                                                                                                              FahadB.Asad, MD
                                                                                                              Madhuri Bajaj, MD
                                                                                                              Vijay K. Damaria, MD
                                                                                                              P3uiA.S.Hshk{n,MD
                                                                                                              Francois J. Geoffroy, MD
                                                                                                              Gregory J. Gerstner, MD
September 6th,2022                                                                                            Musaberk Goksel, MD
                                                                                                              Patrick L Gomez, MD
                                                                                                              SrlnlvasJuIIavarapu, MD
                                                                                                              K{mbertyKu,MD
                                                                                                              Pankaj Kumar, MD
                                                                                                              Nguyet A.Le-Undciwister, MD
                                                                                                              Jane Uu, MD
                                                                                                              Gary R. MacVicar, MD
                                                                                                              Madia Q,Rehman,MD
RE:SAUNDERS,SANDRALEE,DOB:6/30/1970                                                                           Shawn M.Seibert, MD
                                                                                                              Michael H.Veeder,M0
                                                                                                              ShiJIa Zhang, MD
To Whom It May Concern:
Sandra Saunders is being cared for at Illinois CancerCaie for relapsed metastatic                              ADVANCED
adenocarcinoma ofthe colon. She initially was diagnosed with stage.IH disease in                              PRACTICE NURSES
September 2021; however,she subsequently had a relapse in the right inguinal lymph node                        Debra E. Brach, APN
and underwent a biopsy that proved metastatic disease. She has been undergoing                                 Elizabeth M.Berryman,APN

chemotherapy and at t^time is stable. She,however,does have problems with decrease                            Rachel E. Blodgett, APN
                                                                                                              Karl A Breckenridge, APN
in her blood counts fix>m het treatment which may limit future treatment options. Her long
                                                                                                              Jamie C Cook,APN
term prognosis is uncertain and dependent on how well she handles chemotherapy and                            lammyS.Daily, APN
response to treatments. Currently her husband is in federal prison and due to her incurable                    Meiiss S. DeLa Torre, APN
diagnosis ofcolon cancer,uncertain prognosis,^e is hoping fer an earlier release in order                      HollyJoDelinski,APN
for him to spend more time with her given her shortened life expectancy. He*daughter                           Kami L Doubet; APN
lives nearby, but is a single mother working fiill time. She does not have consistent moral                   Jodi E. Foreman,APN
support. She would benefit fix)m having help with tran^ortation and caring for her 13 year                    Jessica Gamblin, APN
old son while going tlnou^ chemother^y.Typically the median life expectancy for                               Undsey L Grys,APN
                                                                                                              Midietle D.Johnson,APN
metastatic colon cancer is approximately two years but this can be shorter or longer
                                                                                                              Kathie A. Kindred,APN
depending on response and available ther£q)ies. She does also have other comorbidities                        Jessica N.Lemmerman,APN
that can shorten her life expectancy and based on her diagnosis and comorbidities she                         Sarah L Undsey,APN
would be expected to have a life e^ectancy ofless than one year. IfIcan be ofany                              DoreenL Link,APN
further assistance, please do not h^tate to contact me at lUinoisjCancaCare,(309)243-                         Jennifer M.Mendalul^ APN
3000. Thank you in advice for consideration ofearly release ofher husband due to her                          R(»(anne R. McLaughlin, APN
underlying incurable cancer.                                                                                   Heather R.Pierce, APN
                                                                                                               Ntta Raut, APN
Sincerely,                                                                                                     Gloria J.Riley, APN
                                                                                                               Gna D. Riner, APN
                                                                                                             .Dq^rah J. Rtifus, APN
                                                                                                               Cynthia Salazar, APN
Kimberly Ru,MD
                                                                                                               Robin L Schertz, APN
                                                                                                              - Kim M.Scott, APN
                                                                                                               Jessica M.Stewart; APN
                                                                                                              Erin L Whaien,APN
                                                                                                              Judy Williamson,APN




                                                                                                                    DCP
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                                                         EXHIBIT-1

         Founding member of the Heartland NCI Community Oncology Research Program » Participating in cancer research since 1979

                 8940 North Wood Sage Rd. « Peoria, Illinois 61615• Office 309.243.3000 » www.iilinoiscancercare.com
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                         KEVIN TYRONE SAUNDERS
                              REG.NO. 14085-021
                           FCIBUTNER MEDIUM H
                       FEDERAL CORR INSTITUTION
                                 P.O. BOX 1500
                              BUTNER,NC 27509
                               September 23,2022

Mr. John E. Triplett
Clerk ofCourt
U.S. District Court
Southern District ofGeorgia
Statesboro Division
P.O. Box 8286
Savannah, GA 31412

      RE: Saundersv. United States
            CrimNo.6:09-cr-00042-LGW-CLR-l


Dear Mr. Triplett:

      Enclosed please find and acceptfor filing Movant's Citation ofNew Authority
for Motion for Reconsideration for Motion for Compassionate Release/Reduction in
Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A) and the First Step Act of 2018.
Please submit this document to the Court.


      Thank you for your assistance in this matter.

                                            Sincerely,




                                            KEVIN TYRONE SAUNDERS
                                            Appearing Pro Se

End. as noted
                                   Case 6:09-cr-00042-LGW-CLR Document 150 Filed 09/26/22 Page 6 of 6




                                                                                                  PRIORITY MAIL
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